           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                          CRIMINAL NO. 1:09CR13


UNITED STATES OF AMERICA                    )
                                            )
                                            )
            VS.                             )     MEMORANDUM AND
                                            )        ORDER
                                            )
YVONNE MARIE FOUNTAIN                       )
                                            )


      THIS MATTER is before the Court on Defendant’s motion for

judgment of acquittal or, in the alternative for a new trial, filed July 19,

2009. For the reasons that follow, Defendant’s motions are denied.

      After a four day trial, a jury found the Defendant and co-Defendant

Kenneth Foster guilty of conspiracy to possess with intent to distribute

crack cocaine,1 in violation of 21 U.S.C. §§ 846 and 841(a)(1).2 See

      1
        Co-conspirator Perry Roger Shippy, charged in a separate
indictment, was tried along with these two Defendants due to the fact that
Shippy was alleged to have been part of the same drug conspiracy
involving the Defendants in this case. The issue of joinder of Shippy’s
case with that of Fountain’s is discussed infra.
      2
       Defendant Foster was also found guilty of knowingly using a
communication facility to further the drug conspiracy, in violation of 21
U.S.C. § 843(b). However, this count was dismissed on motion of the
Government as to Defendant Fountain during the trial.


   Case 1:09-cr-00013-MR-WCM       Document 320    Filed 08/07/09   Page 1 of 9
                                       2

Verdict Sheet, filed July 9, 2009.

      Initially, Defendant requests the Court provide her with the

opportunity to supplement the record with additional argument once she

has obtained a copy of the trial transcript. Defendant’s Motion, at 2.

Defendant contends her family is raising the funds necessary to purchase

a copy of the transcript, but there is no indication in the record or in

Defendant’s motion that one has been ordered. The undersigned presided

over this trial and heard all of the evidence presented. Based on the

overwhelming evidence of Defendant’s guilt presented, the Court finds

affording the Defendant the opportunity to supplement her arguments after

she has combed through the trial transcripts will not change the rulings

herein. Therefore, her request to supplement her post-trial motion is

denied.

      Defendant renews her motion for judgment of acquittal made at the

close of all evidence and previously denied by the Court. A defendant may

move for judgment of acquittal “of any offense for which the evidence is

insufficient to sustain a conviction,” (a) at the close of the Government’s

evidence and before the case is submitted to the jury; (b) at the close of all

the evidence after the Defendant has rested; and (c) after the jury has



   Case 1:09-cr-00013-MR-WCM      Document 320    Filed 08/07/09   Page 2 of 9
                                      3

returned a verdict. See Fed. R. Crim. P. 29 (a)-(c). A defendant is entitled

to renew a motion for judgment of acquittal within seven days after the jury

returns a guilty verdict. Fed. R. Crim. P. 29(c)(1). In deciding whether to

grant a motion for judgment of acquittal, the Court must view the evidence

presented in the light most favorable to the Government and “inquire

whether a rational trier of fact could have found the essential elements of

the charged offense beyond a reasonable doubt.” United States v. Singh,

518 F.3d 236, 246 (4th Cir. 2008) (citing United States v. Lentz, 383 F.3d

191, 199 (4th Cir. 2004)).

      Defendant contends the Government failed to prove she was part of

the drug conspiracy alleged in Count One of the indictment. The jury found

Defendant guilty of conspiracy to possess with intent to distribute cocaine

base; that she was not personally involved with possessing with intent to

distribute 50 or more grams of cocaine base; that other members of the

conspiracy were involved and this involvement was either known to the

Defendant or was reasonably foreseeable to her and was in furtherance of

the conspiracy; and that the amount of cocaine base attributable to the

Defendant was at least 50 grams but less than 150 grams. Verdict Sheet,

supra. The question is whether the evidence presented, when taken in the



   Case 1:09-cr-00013-MR-WCM     Document 320   Filed 08/07/09   Page 3 of 9
                                       4

light most favorable to the Government, supports the jury’s finding that

Defendant was guilty of conspiracy to possess with intent to distribute an

amount of cocaine base that was at least 50 grams.

      Part of the evidence presented at trial showed that Fountain lived

with a co-Defendant, Dennis Lamar Bruton, in a home located at 14

Pinehurst in Asheville, North Carolina. Bruton pled guilty to involvement in

the same conspiracy in which the jury found Defendant to be a participant.

See Acceptance and Entry of Guilty Plea as to Dennis Lamar Bruton,

filed June 29, 2009. Detective Jeffrey Rollins of the Asheville Police

Department testified that he was part of the team that conducted

surveillance of Fountain’s 14 Pinehurst residence during the investigation.

On one occasion, he observed Fountain exit her residence and get into a

gray Infinity automobile, sit for a couple of minutes, and exit the vehicle

with a large bundle of cash in her hand. Based on this information and

other observations, law enforcement applied for and received a search

warrant signed by the Magistrate Judge authorizing a search of the 14

Pinehurst residence for evidence of drug contraband. The police executed

the search warrant and entered the residence where they located Fountain,

Bruton and Fountain’s daughter. Fountain was found standing in a back



   Case 1:09-cr-00013-MR-WCM     Document 320     Filed 08/07/09   Page 4 of 9
                                      5

bathroom alongside a quantity of crack cocaine scattered in, on, and

around the toilet. The search also led to the discovery of a digital scale

with cocaine residue thereon, additional crack cocaine, and $21,000 in

cash in the bedroom adjacent to where Fountain was located. Further, the

evidence showed that there was a considerable amount of foot traffic in

and out of the Fountain residence and various cars were seen arriving at

and leaving the residence at all hours of the day and night; some of these

visitors to the residence were Defendants convicted of and/or pled guilty to

the conspiracy charged herein.

      Of course, there is no evidence that Defendant entered into a written

agreement or explicitly volunteered to participate in this conspiracy;

however, such evidence is not required. The jury was instructed that in

order to find the Defendant guilty of the conspiracy charge they must find

beyond a reasonable doubt that an agreement to possess with intent to

distribute a quantity of cocaine base was knowingly formed and existed

between two or more persons; that Fountain knew about the conspiracy

and deliberately became one of its members; that the object of the

conspiracy was to violate the Controlled Substances Act by possessing

crack cocaine with the intent to distribute the drug; and that the Defendant



   Case 1:09-cr-00013-MR-WCM     Document 320    Filed 08/07/09   Page 5 of 9
                                        6

did such acts knowingly and intentionally. The standard in considering a

motion for judgment of acquittal is whether a rational trier of fact could

reasonably find these essential elements from the evidence presented that

Fountain, beyond a reasonable doubt, participated in the conspiracy.

Given the overwhelming evidence against Defendant admitted during the

trial, the Court finds even the above brief synopsis of the evidence

supports the jury’s finding that Defendant was actively engaged in the

conspiracy.

         Defendant next contends that her trial was improperly joined with the

trial of co-Defendant Kenneth Lee Foster and Defendant Perry Roger

Shippy charged in a separate indictment. Defendant’s Motion, at 3.

Defendant states that the Government introduced no direct evidence of

Fountain’s involvement in the charged conspiracy, and no witness offered

testimony regarding Fountain’s participation in drug related activities. Id.

at 1. As a result, Defendant contends the overwhelming evidence

introduced against Foster and Shippy improperly influenced the jury and

led to her conviction of the conspiracy charge. This argument is without

merit.




   Case 1:09-cr-00013-MR-WCM       Document 320   Filed 08/07/09   Page 6 of 9
                                      7

      On July 6, 2009, the Court denied Defendant’s motion to sever her

trial from that of Foster and Shippy, and granted the Government’s motion

to join Fountain, Foster, and Shippy for trial. See Order, filed July 10,

2009 (memorializing Court’s oral orders). The Defendant offers no new

argument in this motion that persuades the Court to disturb that ruling. As

discussed infra, Fountain was observed by officers in her bathroom with a

quantity of cocaine, and digital scales with cocaine residue were found in

her immediate vicinity along with additional cocaine and $21,000 in cash.

The Court finds that there was sufficient evidence introduced relating solely

to Defendant’s involvement in the charged conspiracy that supported the

jury’s finding that she was in fact guilty of conspiracy. Defendant’s

argument is overruled.

      Defendant’s final contention is that she was never arraigned on the

two-count indictment, insisting “she never voluntarily waived her presence

at the arraignment.” Defendant’s Motion, at 3-4. A review of the docket

record shows that on February 18, 2009, Defendant and her then court-

appointed counsel were noticed that arraignment was scheduled before




   Case 1:09-cr-00013-MR-WCM     Document 320    Filed 08/07/09   Page 7 of 9
                                     8

the Magistrate Judge for February 23, 2009, at 10:40 a.m.3 See Notice of

Hearing, filed February 18, 2009. On February 18, Defendant and

counsel signed the wavier of arraignment form, wherein Defendant waived

formal appearance at the arraignment, entered not guilty pleas to the

charges contained in the indictment, and requested a jury trial. See

Waiver of Personal Appearance, filed February 18, 2009. On this form,

Defendant acknowledges (1) receiving a copy of the indictment; (2) that

she reviewed the indictment and understands the general nature of the

charges against her; (3) that her counsel advised her of the maximum

penalties for the offenses with which she was charged; and (4) that

Defendant understood her right to be present at arraignment on the

indictment. Id. The record shows that Defendant, although well aware of

her right to be present at the arraignment hearing, waived her formal

appearance at the arraignment before the Magistrate Judge as evidenced

by her signature on the Waiver form. Defendant has offered no evidence

to support any contention that her signature on the Waiver was not given



     3
       Defendant qualified for appointed counsel and an assistant federal
defender represented her until Defendant retained counsel on March 3,
2009. See Notice of Attorney Appearance by Jack W. Stewart, Jr.,
filed March 3, 2009.


   Case 1:09-cr-00013-MR-WCM    Document 320   Filed 08/07/09   Page 8 of 9
                                       9

freely and voluntarily with advice of counsel. Accordingly, this argument is

overruled.

      IT IS, THEREFORE, ORDERED that Defendant’s motion to

supplement her argument after receipt of the trial transcript is DENIED.

      IT IS FURTHER ORDERED that Defendant’s motion for judgment of

acquittal is DENIED.

      IT IS FURTHER ORDERED that Defendant’s alternative motion for a

new trial is DENIED in its entirety.

                                       Signed: August 7, 2009




   Case 1:09-cr-00013-MR-WCM      Document 320     Filed 08/07/09   Page 9 of 9
